                    Case 1:20-cv-00517-PB                    Document 142       Filed 04/11/25        Page 1 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      United States District Court
                                                                   for the

                                                         District of New Hampshire


                William Soler Justice Pro se                          )
                                                                      )
                                                                      )
                                                                      )
                            Plaintijf(s)
                                                                      )
                                                                      )
                                V.                                           Civil Action No. 1:20-CV-00517-PB
                                                                      )
                Christopher T. Sununu, et al                          )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION


To: (Defendant’s name and address) Spencer Ryan
                                           57 Fairview Street
                                           Laconia, NH 03246




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:                William Justice
                                           51 StorrsSt#310
                                           Concord, NH 03301




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT



Date:
                                                                                         Signature of Clerk or Deputy Clerk
                       Case 1:20-cv-00517-PB                Document 142           Filed 04/11/25            Page 2 of 5

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.        1:20-CV-00517-PB


                                                           PROOF OF SERVICE

                       (This section should not he filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           □ 1 personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or


           □ I left the summons at the individual's residence or usual place of abode with (name)

                                                                  . a person of suitable age and discretion who resides there,
           on (date)                               . and mailed a copy to the individual’s last known address; or

           d I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or


           d 1 returned the summons unexecuted because                                                                               ; or


           d Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          0.00




           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address



Additional information regarding attempted service, etc:
                   Case 1:20-cv-00517-PB                     Document 142        Filed 04/11/25        Page 3 of 5

AO 440 (Rev. 06/12) Summons in aCivil Action


                                     United States District Court
                                                                   for the

                                                        District of New Hampshire


                William Soler Justice Pro se                           )
                                                                       )
                                                                       )
                                                                       )
                           Plaintiff(s)
                                                                       )
                                                                       )
                                V.                                           Civil Action No.   1:20-CV-00517-PB
                                                                       )
                Christopher T. Sununu, et al                           )
                                                                       )
                                                                       )
                                                                       )
                          DefendaniCs)                                 )

                                                   SUMMONS IN A CIVIL ACTION


To: (Defendant's name and address)         Bret RichardSOn
                                           23 Cabernet Drive, Unit 3
                                           Concord, NH 03303




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:     William Justice
                                          51 Storrs St #310
                                          Concord, NH 03301




         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT



Date:

                                                                                          Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:20-CV-00517-PB


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                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server‘s address



Additional information regarding attempted service, etc:
    Case 1:20-cv-00517-PB   Document 142           Filed 04/11/25       Page 5 of 5




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